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                                                                     EXHIBIT A
Case: 4:23-cv-00191-JMB Doc. #: 1-2 Filed: 11/09/22 Page: 2 of 20 PageID #: 10




          CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                    308 W KANSAS
                             INDEPENDENCE, MISSOURI 64050
MARY A. MARQUEZ                                                       ANTONIA CRAIG
 Court Administrator                                                Director of Civil Records




                                    NOVEMBER 4, 2022

  Eric Schmitt, Attorney General
  Supreme Court Building
  PO Box 899
  Jefferson City, Missouri 65102


  RE :    CHELSEA GAARDER V WEBSTER UNIVERSITY
          Case No: 2216-CV25351




  Enclosed is a copy of the petition filed in the above case. You are being notified of this
  action in accordance with Section 407.25 R.S.Mo.


                                COURT ADMINISTRATOR’S OFFICE
                                 DEPARTMENT OF CIVIL RECORDS
                          CIRCUIT COURT OF JACKSON COUNTY, MISSOURI



                                                     Clerk




  Enclosure
  Mc: Case File Folder



  Case no. 2216-CV25351                Page 1 of 1                               DMSLCI3 (2/2017)
                                                                                                           Electronically Filed - Jackson - Independence - November 03, 2022 - 04:03 PM
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                                                                                   2216-CV25351

               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

CHELSEA GAARDER                                         )
5702 S Garnet Drive                                     )
St. George, Utah 84790                                  )
                                                        )
                                Plaintiff,              )
                                                        )       Case No.
vs.                                                     )
                                                        )
WEBSTER UNIVERSITY                                      )
Serve:                                                  )
Dr. Elizabeth J Stroble                                 )
470 East Lockwood Avenue                                )
St. Louis, MO 63119                                     )
                                                        )
                                Defendant.              )


                                        Petition for Damages

        COMES NOW, Plaintiff, by and through her attorney of record, and for her Petition for

Damages, alleges and states the as follows:

                                             The Parties

        1.      Plaintiff Chelsea Gaarder is an individual who resides at 5702 S Garnet Drive, St.

George, Utah 84790. At the time of the facts of this petition, Plaintiff resided at 3009 SE 4th Street

Blue Springs, Missouri 64014.

        2.      Defendant Webster University is a non-profit corporation organized under the laws

of, and registered in, Missouri. It is a private university, with its principal place of business at 470

E. Lockwood Ave, St. Louis, MO 63119. Its registered agent in Missouri is Dr. Elizabeth J. Stroble,

470 E. Lockwood Ave., St. Louis, MO 63119.
                                                                                                       Electronically Filed - Jackson - Independence - November 03, 2022 - 04:03 PM
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                                     Jurisdiction and Venue

       3.      The Circuit Court of Jackson County has subject matter jurisdiction over this action

and personal jurisdiction over Defendant because the events forming the basis for Plaintiff’s causes

of action occurred under Missouri law and occurred in Jackson County, Missouri.

       4.      Venue is proper in this Court because Plaintiff was first injured by Defendant’s acts

and conduct described herein in Jackson County, Missouri. See R.S.Mo. 508.010.4.

                                   Facts Common to All Counts

       5.      On or about June 7, 2021, Plaintiff submitted a request to Webster University to

receive more information regarding their master’s in counseling program.

       6.      Prior to submitting her online request for information, Plaintiff had researched

Webster University’s master’s in counseling program on Defendant’s website and learned that

Defendant claimed to be accredited by The Council for Accreditation of Counseling and Related

Educational Programs (hereafter “CACREP accredited”).

       7.      CACREP accreditation is of vital importance in many states for an individual to

become a fully licensed clinical therapist. In some states, it is impossible for an individual to

become licensed if the individual did not attend a fully CACREP accredited program.

       8.      After submitting her online request for information , Plaintiff was instructed to

contact Emily Winslow, an employee in Defendant’s Admissions Office, if she had any questions

through her application process.

       9.      Plaintiff contacted Emily Winslow and spoke with her over the phone more than

once. During those phone conversations, Ms. Winslow, an employee in Defendant’s Office of

Admissions, assured Plaintiff multiple times that the master’s in counseling program was

CACREP accredited.
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       10.     In or around June and/orJuly of 2021, Plaintiff viewed the Webster University

website, which boasted “We are pleased to announce that our Online Master of Arts in

Counseling/Emphasis in Clinical Mental Health Counseling is now CACREP accredited.”

       11.     Upon information and belief, Defendant sent emails to other students that

represented the Online Master of Arts in Counseling/Emphasis in Clinical Mental Health

Counseling was CACREP accredited.

       12.     On or about June 29, 2021, Plaintiff attended a virtual information session

regarding the master’s in counseling program, during which attendees were once again assured of

the CACREP accreditation.

       13.     On or about July 22, 2021, Plaintiff received her acceptance letter to Defendant’s

master’s in counseling program.

       14.     Plaintiff made the decision to attend Defendant Webster University’s school in

large part because she believed and relied on the multiple statements of Defendant and its

employees that the master’s in counseling program was CACREP accredited.

       15.     On July 29, 2022, Plaintiff attended new student orientation which was conducted

over the Zoom Platform. Dr. Stehn, the department chair, and Dr. O’Brien, the director of the

program, answered questions regarding the program’s CACREP status. Both assured the students

that there was a logistical issue to be worked out with CACREP, but that there was nothing to

worry about.

       16.     On or about August 16, 2021, Plaintiff, along with the other students in Defendant’s

master’s of counseling program, were notified by email that the program had lost its CACREP

accreditation, would need to complete a new “self-study”, and that students would be updated

when they received the accreditation back.
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        17.     In November of 2021, Plaintiff spoke to many different advisors, all of whom

assured her that the accreditation would easily be resolved by the beginning of 2022.

        18.     On or around November 29, 2021, Plaintiff’s classmate, Jeanie Rhoads, was

notified by the Director of the Program, Dr. O’Brien, that although the self-study was being

completed, that their cohort (their “class”), including Plaintiff, would “certainly be grandfathered

in as having graduated from an accredited program.” This sentiment was being repeated verbally

to many other students, including Plaintiff.

        19.     In or around January of 2022, Plaintiff’s student cohort decided to appoint one

student to communicate with the chair of the program, Dr. Stehn, about what was truly going on.

        20.     Dr. Stehn assured that student that the self-study report had been submitted at the

end of November of 2021, and they would receive a response in February. Dr. Stehn stated they

would let the students know as soon as they knew something.

        21.     On or about March 8, 2022, the students of Plaintiff’s cohort attended a “Townhall

Student Feedback” meeting over the Zoom Platform.

        22.     At the “Townhall Student Feedback” meeting, the students complained about the

lack of communication and uncertainty of the CACREP accreditation process. Dr. Stehn assured

the students they would be informed of a status update by March 15, 2022.

        23.     On or about March 23, 2022, the students were informed via email that Defendant’s

master’s in counseling program is not CACREP accredited, and the self-study was rejected. Dr.

Stehn told students they had less than 24 hours to withdraw from the Spring 2022 semester in order

to receive a full refund.
                                                                                                           Electronically Filed - Jackson - Independence - November 03, 2022 - 04:03 PM
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       24.     Because CACREP accreditation is required to be licensed in many states, and

because Plaintiff relied on the statements made by Defendant or its employees regarding

accreditation, Plaintiff made the decision to withdraw to receive a refund.

       25.     In or around April of 2022, Plaintiff contacted a representative from the CACREP

institution and received a confirmation email from the CACREP accrediting institution that

Webster University’s Hybrid program for master’s in counseling was never CAPCREP accredited,

and that it lacked any records regarding a status review for the online program, as had been

suggested by Defendant and its employees.

       26.     At the time of filing this petition, Plaintiff has still not received a full and complete

refund for the Spring 2022 session.

                        COUNT I: FRAUDLENT MISREPRESENTATION

       27.     Plaintiff incorporates by reference the forgoing statements and allegations as

though fully set forth herein.

       28.     Beginning in or around December of 2020, or before that date, and continuing on

various dates thereafter as reflected in promotional materials, emailed materials, course materials,

verbal statements, etc., Defendant, through its representatives and agents acting within the scope

and course of their agency and employment and on behalf of Defendant, intentionally engaged in

a pattern and practice of making certain fraudulent misrepresentations and/or material omissions

to Plaintiff and others, regarding the online master’s in counseling program and its CACREP

accreditation status.

       29.     Plaintiff was induced by Defendant’s intentional, willful, and malicious

misrepresentations and omissions to apply for student loans, purchase books, supplies, equipment,

and to enroll in Defendant Webster University and pay tuition.
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       30.     Plaintiff used her own funds and/or student loans to pursue Defendant’s curriculum

and suffered additional loss of income she would have reasonably earned had she not been

fraudulently induced into enrolling in Webster University.

       31.     Plaintiff will continue to suffer lost income in the future.

       32.     Beginning in or around June of 2021 and continuing thereafter, the Admissions

Department and other representatives of Defendant made the following misrepresentations to

Plaintiff about the school and its accreditation which Plaintiff relied on:

               a. “The Online Master of Arts in Counseling/Emphasis in Clinical Mental Health

                   Counseling is now CACREP accredited” (Listed on website);

               b. The online master’s in counseling is CACREP accredited;

               c. There was a “logistical” issue with Defendant’s CACREP accreditation that

                   would be easily resolved;

               d. The CACREP accreditors were requiring a new self-study from Defendant, and

                   then they would receive the accreditation back;

               e. Plaintiff’s cohort would certainly be “grandfathered in” as graduating from a

                   CACREP accredited program;

               f. The required self-study had been submitted in November of 2021, and

                   Defendant would have an answer to CACREP’s review by February;

               g. Plaintiff would receive a full refund if she withdrew by March 25, 2021.

       33.     The forgoing representations made by Defendant through its agents, employees,

and representatives were false.
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       34.     The aforementioned admissions representatives, financial aid representatives, and

other personnel were acting on behalf of, and serving the business interests of, Defendant in

making said false representations.

       35.     Defendant knew the foregoing representations were false, or Defendant did not

know whether the representations were true or false, but represented that they were true.

       36.     Defendant intended that Plaintiff rely on said representations and omissions and

enroll at Webster University.

       37.     The fraudulent misrepresentations and omissions made by Defendant were material

to Plaintiff’s decision to enroll in Webster University.

       38.     But for the false, fraudulent, and misleading statements and omissions, Plaintiff and

others would not have enrolled in Webster University.

       39.     Plaintiff relied on all the aforesaid misrepresentations and omissions in enrolling in

Webster University and was relying on them using ordinary care.

       40.     As a direct result of such fraudulent misrepresentations and omissions, Plaintiff was

damaged.

       41.     Defendant’s conduct was outrageous, and showed complete indifference to or

conscious disregard for the rights of the Plaintiff, thereby entitling Plaintiff to punitive damages in

an amount that will serve to punish Defendant and deter Defendant and others from like conduct.

       WHEREFORE, Plaintiff prays for actual damages against Defendant in an amount that

is fair and reasonable, including all monies expended by Plaintiff for tuition, fees, books, supplies,

equipment, and any further incidental charges and fees together with such sums Plaintiff might

reasonably have earned during the time devoted to Defendant’s curriculum, for punitive damages
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in amount sufficient to punish Defendant and to deter Defendant and others from like conduct and

for such further relief the Court deems just and proper.

                COUNT II: FRAUD BY CONCEALMENT AND OMISSION

       42.     Plaintiff incorporates by reference the forgoing statements and allegations as

though fully set forth herein.

       43.     In addition to the fraudulent misrepresentations set for above, Plaintiff was

damaged by Defendant’s omission of and failure to disclose facts that, had they been known, would

have convinced Plaintiff to reject Webster University.

       44.     Defendant had a duty to disclose to Plaintiff:

               a. Webster University’s online master’s in counseling program was not CACREP

                   accredited;

               b. Webster University’s online master’s in counseling program had never been

                   CACREP accredited;

               c. Webster University had never applied for CACREP accreditation for their

                   online master’s in counseling program;

               d. The class of students Plaintiff would be graduating with had no opportunity to

                   be “grandfathered in” because the program had never been CACREP

                   accredited;

               e. A self-study was never turned in to the CACREP accreditation institution.

       45.     Defendant failed to disclose the information in paragraphs 41 a-e.

       46.     The facts that were omitted and withheld by Defendant were material.
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        47.     The aforementioned admissions representatives, financial aid representatives, and

other personnel were acting on behalf of, and serving the business interests of, Defendant in failing

to disclose said material information.

        48.     Defendant was in a position of having specific knowledge not available to Plaintiff.

        49.     Defendant was in a position of trust such that Defendant was aware that Plaintiff

trusted them for advice and believed them to have been acting in Plaintiff’s best interest.

        50.     Defendant intended that Plaintiff rely upon said representations and omissions and

thus enroll in Webster University.

        51.     The fraudulent omissions made by Defendant were material to Plaintiff’s decision

to enroll in Webster University.

        52.     But for the fraudulent omissions, Plaintiff and others would not have enrolled in

this institution.

        53.     Plaintiff relied on all the aforesaid misrepresentations and omissions in enrolling in

Webster University and was relying on them using ordinary care.

        54.     As a direct result of such fraudulent misrepresentations and omissions, Plaintiff was

damaged.

        55.     Defendant’s conduct was outrageous, and showed complete indifference to or

conscious disregard for the rights of the Plaintiff, thereby entitling Plaintiff to punitive damages in

an amount that will serve to punish Defendant and deter Defendant and others from like conduct.

        WHEREFORE, Plaintiff prays for actual damages against Defendant in an amount that

is fair and reasonable, including all monies expended by Plaintiff for tuition, fees, books, supplies,

equipment, and any further incidental charges and fees together with such sums Plaintiff might

reasonably have earned during the time devoted to Defendant’s curriculum, for punitive damages
                                                                                                       Electronically Filed - Jackson - Independence - November 03, 2022 - 04:03 PM
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in amount sufficient to punish Defendant and to deter Defendant and others from like conduct and

for such further relief the Court deems just and proper.

       COUNT III: VIOLATION OF THE MERCHANDISING PRACTICES ACT

       56.     Plaintiff incorporates by reference the forgoing statements and allegations as

though fully set forth herein.

       57.     Plaintiff purchased services primarily for personal purposes, and thereby suffered

an ascertainable loss of money as a result of the use and employment by Defendant of methods,

acts, and practices declared unlawful pursuant to Revised Missouri Statutes, Section 407.010 et

seq.

       58.     All of the foregoing misrepresentations, omissions and concealments by Defendant

were relied upon by Plaintiff in deciding to enroll in Defendant’s institution, and in expending

monies for tuition, books and incidental fees, and in devoting their time to Defendant’s curriculum,

which, had Plaintiff known the truth, would have devoted to the pursuit of employment, or

pursuing a legitimate education at another college or university.

       59.     Plaintiff has been damaged by Defendant’s actions in the amount expended by

Plaintiff for tuition, books, incidental fees, loss of earnings and loss of educational opportunity,

and Section 407.025 R.S.Mo. gives Plaintiff the right to recover actual damages sustained by the

actions of Defendant’s violations of the Missouri Merchandising Practices Act, Section 407.010

R.S.Mo. et seq. Said section further entitles Plaintiff to recover punitive damages, reasonable

attorney fees, costs, treble damages and such other equitable action and relief as the Court deems

necessary and proper.
                                                                                                         Electronically Filed - Jackson - Independence - November 03, 2022 - 04:03 PM
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       60.     Defendant’s actions were outrageous, and showed complete indifference to or

conscious disregard for the rights of Plaintiff, thereby entitling Plaintiff to punitive damages in an

amount that will serve to punish Defendant and to deter Defendant and others from like conduct.

       WHEREFORE, Plaintiff prays for actual damages against Defendant in an amount that is

fair and reasonable, including all monies expended by Plaintiff for tuition, fees, books, supplies,

equipment, and any further incidental charges and fees together with such sums Plaintiff might

reasonably have earned during the time devoted to Defendant’s curriculum, for punitive damages

in amount sufficient to punish Defendant and to deter Defendant and others from like conduct and

for such further relief the Court deems just and proper.

                                      Request for Jury Trial

       COMES NOW, Plaintiff, by and through her attorney of record, and hereby requests a trial

by jury.



                                               Respectfully submitted,

                                               WHITE, GRAHAM, BUCKLEY, & CARR, L.L.C

                                               BY:___/s/ Gene P. Graham, Jr. _________
                                                  Gene P. Graham, Jr.     MO 34950
                                                  Deborah J. Blakely      MO 47138
                                                  Taylor M. Arri          MO 72685
                                                  19049 East Valley View Parkway
                                                  Independence, Missouri 64055
                                                  (816) 373-9080 Fax: (816) 373-9319
                                                  ggraham@wagblaw.com
                                                  dblakely@wagblaw.com
                                                  tarri@wagblaw.com

                                                    ATTORNEYS FOR PLAINTIFF
                                                                                                     Electronically Filed - Jackson - Independence - November 03, 2022 - 04:03 PM
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                                                                              2216-CV25351

               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

CHELSEA GAARDER                                     )
5702 S Garnet Drive                                 )
St. George, Utah 84790                              )
                                                    )
                             Plaintiff,             )
                                                    )       Case No.
vs.                                                 )
                                                    )
WEBSTER UNIVERSITY                                  )
Serve:                                              )
Dr. Elizabeth J Stroble                             )
470 East Lockwood Avenue                            )
St. Louis, MO 63119                                 )
                                                    )
                             Defendant.             )


                                 CERTIFICATE OF SERVICE
       I certify that the following documents were filed contemporaneously herein with Plaintiff’s

Petition for Damages on this 3rd day of November, 2022 and are to be served in the summons

packet by the Sheriff of the St. Louis County Sheriff’s Department:


           •   Plaintiff’s First Request for Production of Documents in both word and electronic
               format (via CD)
           •   Plaintiff’s First Interrogatories in both word and electronic format (via CD).

                                            Respectfully submitted,
                                            WHITE, GRAHAM, BUCKLEY, & CARR, L.L.C
                                            BY:___/s/ Gene P. Graham, Jr. _________
                                               Gene P. Graham, Jr.     MO 34950
                                               Deborah J. Blakely             MO 47138
                                               Taylor M. Arri          MO 72685
                                               19049 East Valley View Parkway
                                               Independence, Missouri 64055
                                               (816) 373-9080 Fax: (816) 373-9319
                                               ggraham@wagblaw.com
                                               dblakely@wagblaw.com
                                               tarri@wagblaw.com

                                                 ATTORNEYS FOR PLAINTIFF
            Case: 4:23-cv-00191-JMB Doc. #: 1-2 Filed: 11/09/22 Page: 15 of 20 PageID #: 23

             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 2216-CV25351
 JENNIFER PHILLIPS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CHELSEA GAARDER                                                    GENE P GRAHAM JR
                                                                    WHITE, ALLINDER & GRAHAM,
                                                                    BUCKLEY & CARR L.L.C. SUITE C
                                                                    19049 EAST VALLEY VIEW PARKWAY
                                                              vs.   INDEPENDENCE, MO 64055
 Defendant/Respondent:                                              Court Address:
 WEBSTER UNIVERSITY                                                 308 W Kansas
 Nature of Suit:                                                    INDEPENDENCE, MO 64050
 CC Other Tort                                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: WEBSTER UNIVERSITY
                                      Alias:
  SRV: DR ELIZABETH J STROBLE
  470 EAST LOCKWOOD AVENUE
  ST. LOUIS, MO 63119

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    04-NOV-2022                               _________________________________________
                                                        Date                                                   Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling place or usual abode of the defendant/respondent with
           _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                     _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
            (Seal)                  Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
                                                                             Date                                     Notary Public


     Sheriff’s Fees
     Summons                  $
     Non Est                  $
     Sheriff’s Deputy Salary
     Supplemental Surcharge   $       10.00
     Mileage                  $                      (______ miles @ $.______ per mile)
     Total                    $
     A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits, see
     Supreme Court Rule 54.


OSCA (11/2021) SM30 (JAKSMCC) For Court Use Only: Document Id # 22-SMCC-10101 1 of 1                            Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




                                                                                                   6/2020
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                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




                                                                                                   6/2020
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              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT INDEPENDENCE

CHELSEA GAARDER,

                        PLAINTIFF(S),                                    CASE NO. 2216-CV25351
VS.                                                                      DIVISION 12

WEBSTER UNIVERSITY,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable JENNIFER PHILLIPS on 21-FEB-2023 in DIVISION 12 at 09:30 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.




2216-CV25351                                   Page 1 of 3                       DMSNCMCIVI (2/2017)
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                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ JENNIFER PHILLIPS
                                              JENNIFER PHILLIPS, Circuit Judge


                                       Certificate of Service

        This is to certify that a copy of the foregoing was electronic noticed, faxed, emailed
and/or mailed or hand delivered to the plaintiff with the delivery of the file-stamped copy of the
petition. It is further certified that a copy of the foregoing will be served with the summons on
each defendant named in this action.

Attorney for Plaintiff(s):
TAYLOR MICHELLE ARRI, 19049 E. VALLEY VIEW PKWY, SUITE C, INDEPENDENCE,
MO 64055

DEBORAH J BLAKELY, 19049 E VALLEY VIEW PARKWAY, STE C, INDEPENDENCE,
MO 64055

GENE P GRAHAM, WHITE, ALLINDER & GRAHAM,, BUCKLEY & CARR L.L.C. SUITE
C, 19049 EAST VALLEY VIEW PARKWAY, INDEPENDENCE, MO 64055

Defendant(s):
WEBSTER UNIVERSITY

Dated: 04-NOV-2022                                              MARY A. MARQUEZ
                                                                Court Administrator
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